                           EXHIBIT 4




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              UNITED STATES of AMERICA
                                    vs
METHODIST LE BONHEUR HEALTHCARE, et al.




                   BRADLEY SOMER, M.D.
                        September 19, 2022




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·1   · · · ·Do you recall where you heard those numbers,     ·1   · · · · · · MR. ROARK:· Object to the form.
·2   Dr. Somer?                                              ·2   · · · · · · MR. THOMAS:· Same objection.
·3   A.· · ·Maybe from Erich.· I don't -- I don't recall     ·3   BY MR. VROON:
·4   where.                                                  ·4   Q.· · ·Is that right?
·5   Q.· · ·Okay.· Then you state, "That is a 65 million     ·5   A.· · ·I don't think that there's anything
·6   swing on a five-year deal so clearly would feel more    ·6   guaranteed to get anything.· I think that it's
·7   comfortable putting the foot on the gas pedal if        ·7   whatever would be accomplished through a fair market
·8   it's closer to 33 million as that is 165 million net    ·8   value through an MSA agreement and -- that we've
·9   upside to them on the drugs alone."· And then you       ·9   performed on.
10    put three exclamation marks.                           10    · · · ·So I don't think that that's a -- there's
11    · · · ·Did I read that correctly?                      11    nothing -- obviously, trying to advocate, but always
12    A.· · ·I think so.                                     12    through a fair market value opinion on -- and
13    Q.· · ·What did you mean, "putting the foot on the     13    through the management services agreement.
14    gas pedal"?                                            14    Q.· · ·We're not talking about fair market valuation
15    A.· · ·I don't know what I meant.· I don't remember    15    in this email, Dr. Somer.· So I'm just asking you
16    writing it, so I don't remember what I meant.          16    whether the 20 to 25 million refers to a portion of
17    Q.· · ·So the last sentence of this paragraph, you     17    the 340B savings that Methodist would obtain over
18    wrote, "With radiology, they could exercise a          18    five years.
19    significant larger upside for them."· The next         19    A.· · ·It's not.
20    sentence, "If we're only getting 20 to 25 million      20    · · · · · · MR. THOMAS:· Object to the form.
21    out of that" -- "out of that, would not feel bad at    21    · · · · · · THE WITNESS:· It's -- it's -- it's
22    all about pressing."                                   22    referring to whatever would be obtained through a
23    A.· · ·I think --                                      23    management service agreement.
24    Q.· · ·Did I read that correctly?                      24    BY MR. VROON:
25    A.· · ·Yeah.                                           25    Q.· · ·Okay.· So the 20 to 25 million refers to the


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·1   Q.· · ·So you're talking about 340B profits to -- or    ·1   future management services payments?
·2   savings to Methodist from the arrangement with West,    ·2   A.· · ·Conceptually speaking --
·3   correct?                                                ·3   Q.· · ·Okay.
·4   A.· · ·I'm talking about 340B savings.                  ·4   A.· · ·-- what could be, but nothing guaranteed.
·5   Q.· · ·To Methodist, right?                             ·5   Q.· · ·And did you think that the management
·6   A.· · ·Right.                                           ·6   services payments would be funded from the 340B
·7   Q.· · ·And that number, there's a -- there's a range    ·7   savings that Methodist would obtain?
·8   of what you've heard -- we don't know the source,       ·8   A.· · ·340B went to fund the -- whatever
·9   but you've heard a range of 20 to 33 million a year,    ·9   Methodist -- it's up to Methodist on where that 340B
10    according to this email, right?                        10    would go, so --
11    A.· · ·That's -- yeah, that's what it says.            11    Q.· · ·I saw an email from Gary Shorb to the -- or a
12    Q.· · ·Yeah.· And if it's the 33 million to be the     12    letter from Gary Shorb to the medical community
13    340B savings to Methodist, then you wrote, "If it's    13    after this deal was finalized, and he said Methodist
14    closer to 33 million" -- "33 million, that is          14    and West donated 5 million to UT.
15    $165 million net upside to them."                      15    · · · ·Do you recall seeing that?
16    · · · ·And you're referring to the 340B savings over   16    · · · · · · MR. ROARK:· Object to the form.
17    five years, right?                                     17    · · · · · · MR. THOMAS:· Objection.· Lack of
18    A.· · ·That looks like what it's referring to,         18    foundation.
19    right.                                                 19    · · · · · · THE WITNESS:· I -- you can show me the
20    Q.· · ·Okay.· Yes, sir.                                20    email.· I don't --
21    · · · ·And then you say, "If we are only getting 20    21    BY MR. VROON:
22    to 25 million out of that, would not feel bad at all   22    Q.· · ·Yeah.· Do you recall it was an announcement
23    about pressing."                                       23    around the announcement of the alliance, and there
24    · · · ·So the 20 to 25 million out of a 340B savings   24    was a letter that Mr. Shorb wrote to the community,
25    is what West would get?                                25    physicians in the community?



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·1   Q.· · ·When you say "we had to evaluate," who do you    ·1   know.· I -- I usually am working until really,
·2   mean by "we"?                                           ·2   really late and wake up really, really early, so
·3   A.· · ·Me and Lee looked at different software          ·3   you're always on, but it's not on, like, clinic
·4   packages.· So we ended up getting OncoLens, which is    ·4   time.
·5   a tumor board management system, to make things more    ·5   Q.· · ·As a result of West entering into the
·6   efficient for everybody and make it easier on the       ·6   management services agreement with Methodist, did
·7   coordinators.· So that was --                           ·7   that entail you having to perform work that you
·8   Q.· · ·When you say that you had to get buy-in from     ·8   hadn't been doing prior to that agreement?
·9   the specialties, that included the pathology group      ·9   A.· · ·Definitely, a lot of work.
10    at Methodist?                                          10    Q.· · ·And is that the work that you would typically
11    A.· · ·Yes.                                            11    do, as you said, off-hours?
12    Q.· · ·And also the radiology group at Methodist?      12    A.· · ·It would be in the -- when I'm not in clinic.
13    A.· · ·We -- yeah, because we couldn't -- like, with   13    Sometimes you have to take off time during clinic to
14    the West radiology, we couldn't staff every tumor      14    do them.· But it would then -- sometimes even
15    board.· So -- and, you know, we had to pull in --      15    something came up in the middle of clinic.· So it
16    obviously, there's different personalities from the    16    was not during -- not during -- so it was additional
17    previous West radiology and the -- the MRPC group,     17    time.
18    and bridging that was an enormous lift to begin        18    Q.· · ·Was the work that you did for management
19    with, but bringing them to involve them in the tumor   19    services limited to Monday through Friday?
20    boards was also an undertaking as well.                20    A.· · ·No.
21    Q.· · ·When you say enormous lift and a big            21    Q.· · ·Did it include time outside of that?
22    undertaking, are you talking about the amount of       22    A.· · ·Well, again, like, I don't -- it's hard --
23    time and effort that you had to spend working on the   23    it's blurred between what's management services and
24    multidisciplinary conferences?                         24    what's not, like, you know.· But there was plenty of
25    A.· · ·Well, me and others.· Again, I'm not -- I'm     25    time meeting on the weekends and answering emails on


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·1   not taking, you know, personal --                       ·1   the weekends and at night.· But, again, you can call
·2   Q.· · ·I'm just talking about yourself.· Is that        ·2   it management services, so -- I would call it cancer
·3   something that you had to spend a significant amount    ·3   center development, so --
·4   of time on?                                             ·4   Q.· · ·All right.· Cancer center development.
·5   A.· · ·I had to spend time, yeah.· I -- I mean, it      ·5   · · · ·Given the size of the clinical practice that
·6   took a lot of coordination.                             ·6   you had, how did you find the time to spend on
·7   Q.· · ·And the time that you spent chairing or          ·7   cancer center development?
·8   working on the tumor boards, is that something that     ·8   A.· · ·It was early morning.· I slept less. I
·9   you would be paid RVUs for?                             ·9   missed a lot of things for my family.
10    A.· · ·No.                                             10    · · · ·If I had to skip clinic, I'd skip clinic, if
11    Q.· · ·Is that part of the work that you viewed        11    it was a meeting that I had to get to or whatever.
12    yourself as doing relating to management services?     12    So it's a -- you know, some people work 9:00 to
13    A.· · ·I mean, again, I just, like, basically did      13    5:00.· It wasn't a 9:00-to-5:00 job for us.· It was,
14    what I had to do in order to make a cancer center.     14    like, kind of a -- we had a lot to do and get done
15    I don't think that I, like, necessarily clicked off    15    and we just, you know, did it at all hours, so --
16    here's what -- I essentially -- remember, we had to    16    Q.· · ·Was devoting that time something you did over
17    do this -- tumor board started at 6:30 or 7:00 in      17    the term of the arrangement from 2012 through 2018?
18    the morning before any patients even came in.          18    A.· · ·We did it -- yeah, I mean, the time -- and
19    · · · ·We -- you know, a lot of this -- so I           19    probably even before 2012 even we were, like,
20    don't -- like, it was a usual off-hour kind of         20    already kind of gearing up.· We needed to get a
21    thing, but it was -- it was definitely extra time to   21    needs evaluation to figure out how to do stuff,
22    participate for anybody that participated.             22    so --
23    Q.· · ·When you say "off-hour," what do you mean?      23    Q.· · ·You were gearing up for the cancer center
24    A.· · ·Well, it depends upon what your off-hours       24    development even before the contract went into
25    are.· My on-hours are, like, you know -- I don't       25    effect?



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·1   A.· · ·He was a reimbursement director.                 ·1   Q.· · ·Was he a Methodist -- was he a West employee
·2   Q.· · ·At the West Clinic?                              ·2   before this deal?
·3   A.· · ·At -- I would assume he worked -- I mean, he     ·3   A.· · ·I don't remember when he came and left.
·4   was one of the employees.                               ·4   Q.· · ·Okay.· Dr. Somer, if I wanted to see all the
·5   Q.· · ·Okay.                                            ·5   care plans and the pathways, how would we get them?
·6   A.· · ·Again, so whatever we were, West, Methodist,     ·6   A.· · ·You'd have to ask these guys, right?
·7   you know.                                               ·7   Q.· · ·But if you wanted to obtain them, how would
·8   Q.· · ·And -- yeah.· And he's talking about a           ·8   you get them?
·9   particular drug is three times the cost of another      ·9   A.· · ·Like, all the ones in the EMR?
10   drug, and he's asking you to change the drug that       10    Q.· · ·Yes.
11   you were prescribing, right?                            11    A.· · ·Right now?
12   A.· · ·Out-of-pocket --                                 12    Q.· · ·Yes.
13   · · · · · · MR. THOMAS:· Try to read to yourself.       13    A.· · ·I would go to the -- you'd go to the -- our
14   · · · · · · THE WITNESS:· I'll go silent.· Sorry.       14    data analytics people and --
15   · · · · · · Okay.· I honestly don't know the            15    Q.· · ·And are there dates on the care plans and
16   difference between Sandostatin LAR and Somatuline       16    pathways that show their date of origin or their
17   Depot, so --                                            17    date of revision?
18   BY MR. VROON:                                           18    A.· · ·I don't know.
19   Q.· · ·There's a difference in the profit margin?       19    · · · · · · MR. VROON:· I think my time is about up,
20   · · · · · · MR. ROARK:· Object to the form.             20    Dr. Somer.· Thank you.
21   · · · · · · MR. THOMAS:· Same objection.                21    · · · · · · MR. THOMAS:· Thank you.
22   · · · · · · THE WITNESS:· I mean, you see the email,    22    · · · · · · MR. ROARK:· I've got a few more things.
23   so --                                                   23    If we could go off the record and take one more
24   BY MR. VROON:                                           24    break.
25   Q.· · ·Yeah, but I'm trying to understand it.           25    · · · · · · VIDEO TECHNICIAN:· Yeah.· We're off at


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·1   · · · ·Did -- why was -- I mean, Jamie Chandler has     ·1   4:47 p.m.
·2   no medical training, I assume, but he's asking you      ·2   · · · · · · (A recess was taken.)
·3   to change a drug based on the profit margin or the      ·3   · · · · · · VIDEO TECHNICIAN:· Okay.· Back on,
·4   cost of the drug?                                       ·4   4:59 p.m.
·5   · · · · · · MR. THOMAS:· Objection to form.             ·5
·6   · · · · · · MR. ROARK:· Object to the form.             ·6   · · · · · · · · · · ·EXAMINATION
·7   · · · · · · THE WITNESS:· I didn't write the email.     ·7   QUESTIONS BY MR. ROARK:
·8   BY MR. VROON:                                           ·8   Q.· · ·Dr. Somer, could you go back to Exhibit 206.
·9   Q.· · ·But is that the message that you received?       ·9   A.· · ·206.
10    A.· · ·I mean, you see the email.                      10    · · · · · · THE REPORTER:· They're in order.
11    Q.· · ·What was your response?                         11    · · · · · · THE WITNESS:· They're in order.· Okay.
12    A.· · ·I don't know.· How would I remember that?       12    BY MR. ROARK:
13    Q.· · ·Did -- is it -- Mr. Chandler, part of his       13    Q.· · ·This is that email exchange with Jon Peters,
14    role was to -- even after the alliance started, he     14    Erich Mounce, Ron Davis that Mr. Vroon asked you
15    was -- part of his role was to monitor the drug cost   15    about.
16    and the margins of drugs being prescribed?             16    · · · ·During the term of the various agreements
17    A.· · ·I don't know what -- whether that was his       17    between Methodist and -- and West, is it correct
18    role.· His role was to enable access for patients to   18    that Methodist paid West for clinical services under
19    get the drugs, so --                                   19    the PSA?
20    Q.· · ·But did he communicate with West physicians     20    A.· · ·Yes.
21    about the drug costs and the drug profit margins?      21    Q.· · ·And Methodist paid West for management
22    A.· · ·He was on the CPQ committee and --              22    services under the MSA?
23    Q.· · ·Do you know if he was at least employed by      23    A.· · ·Yes.
24    Methodist?                                             24    Q.· · ·Outside of the payments that Methodist made
25    A.· · ·I don't know.                                   25    to West for clinical services under the PSA or


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·1   management services under the MSA, did West receive     ·1   Q.· · ·Were -- the different hospital lines, did
·2   any separate or additional payments from Methodist?     ·2   they each have goals that were particular to the --
·3   A.· · ·No.                                              ·3   to the -- that hospital?
·4   Q.· · ·Did West receive any kind of cut or part of      ·4   A.· · ·I think so.
·5   drug profits?                                           ·5   Q.· · ·And for quality overview purposes, was West
·6   A.· · ·No.                                              ·6   Cancer Center treated like another hospital line of
·7   Q.· · ·Did -- did your decision-making about whether    ·7   Methodist?
·8   to prescribe a particular drug or not, did you          ·8   · · · · · · MR. VROON:· Object to form.
·9   factor in margins on the drug, if you knew them?        ·9   · · · · · · THE WITNESS:· We were measured to the
10    A.· · ·Our factor was based on what was best for the   10    quality metrics like others.
11    patient.                                               11    BY MR. ROARK:
12    Q.· · ·All right.· And I wanted to ask you about one   12    Q.· · ·Like the other hospitals?
13    other document.                                        13    A.· · ·Other hospitals, yeah.
14    · · · ·You talked -- I was asking you some questions   14    · · · · · · MR. VROON:· Object to form.
15    earlier today about Methodist's quality oversight      15    BY MR. ROARK:
16    of -- of West.                                         16    Q.· · ·I want to make sure I heard your answer.
17    · · · ·Do you recall that?                             17    · · · ·Was that like the other hospitals?
18    A.· · ·Yep.                                            18    A.· · ·Yes.
19    Q.· · ·And you referenced -- you referenced            19    · · · · · · MR. VROON:· Same objection.
20    receiving a report card.· I think you said you         20    BY MR. ROARK:
21    remembered a colorful chart.                           21    Q.· · ·And for -- do you recall who the -- the
22    A.· · ·Yeah.                                           22    quality scorecards were -- would come from?
23    Q.· · ·All right.· I want to show you a document       23    A.· · ·I don't remember who.
24    that is -- it's Bates-numbered West 0031800.· I'll     24    Q.· · ·Okay.
25    mark it as the next exhibit.                           25    A.· · ·Yeah.

                                                 Page 278                                                    Page 280
·1   · · · · · · (WHEREUPON, a document was marked as        ·1   Q.· · ·Someone at Methodist?
·2   Exhibit Number 208.)                                    ·2   A.· · ·I presume -- probably it was created with
·3   BY MR. ROARK:                                           ·3   someone from Methodist, but I don't know exactly. I
·4   Q.· · ·Exhibit 208 is entitled "West Cancer Center      ·4   would imagine that that was the case.
·5   Balanced scorecard, December 2015."                     ·5   Q.· · ·All right.· The -- and for Exhibit 20 -- 208
·6   · · · ·Dr. Somer, I'll give you a minute to read        ·6   for this particular document, the top row refers to
·7   through it.                                             ·7   AFS.
·8   A.· · ·Okay.                                            ·8   · · · ·Do you know what that stands for or what
·9   Q.· · ·Is this an example of the quality review         ·9   that's referring to?
10    report cards that you recall West receiving from       10    A.· · ·I don't know exactly, but I assume that
11    Methodist?                                             11    that's a patient satisfaction.
12    A.· · ·I don't remember receiving this one             12    Q.· · ·What about associate feedback score?
13    specifically, but there were things like this.         13    A.· · ·Oh, yes.· I do remember that, yeah.
14    Q.· · ·Is this what you recall the format of the       14    Q.· · ·Is that one of the items that Methodist
15    scorecards being like?                                 15    measured, was associate feedback for West Cancer
16    A.· · ·Colorful?                                       16    Center?
17    Q.· · ·Colorful and containing this -- this type of    17    A.· · ·Yes.
18    information.                                           18    Q.· · ·All right.· And then the next group of items
19    A.· · ·I mean, these were the kind of information.     19    refers to quality.· The first one is "3rd and 4th
20    Q.· · ·Would you see similar report cards as this --   20    line breast, lung, colon, and ovarian."
21    this one is for West Cancer Center.· When this         21    · · · ·Do you see that?
22    information would come to you, would it include the    22    A.· · ·Yes.
23    scorecards for Methodist University Hospital,          23    Q.· · ·The reference to "3rd and 4th line," is that
24    Methodist Germantown Hospital, Methodist North?        24    similar to what you were explaining earlier today,
25    A.· · ·Yeah, sometimes.                                25    the -- or what does 3rd and 4th line relate to?



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